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January 27, 2021

VIA ECF

Hon. Louis L. Stanton
United States District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

Re:    Dresser-Rand Company v. Petróleos de Venezuela, S.A., et al.
       S.D.N.Y. Docket No. 1:19-cv-002689-LLS

Dear Judge Stanton:

        This firm represents defendants Petróleos de Venezuela, S.A. (“PDVSA”) and PDVSA
Petróleo, S.A. (“Petróleo” and together with PDVSA, “Defendants”) in the above-referenced action.
We write in response to the letter filed by counsel for non-party Red Tree Investments LLC (“Red
Tree”) on January 25, 2021 (Dkt. No. 104), requesting a pre-motion conference in connection with its
contemplated motion to intervene. Red Tree seeks to intervene in this action for the limited purpose
of modifying the protective order issued on September 26, 2019 (Dkt. No. 41) to permit Red Tree to
access the discovery obtained by subpoena from third-party Deutsche Bank Trust Co Americas
(“Deutsche Bank”).

        Defendants are agreeable to Red Tree’s requested modification of the protective order. Had
Red Tree’s counsel consulted with us before making its application (they did not), we would have
conveyed Defendants’ consent. We also would have highlighted that Deutsche Bank’s consent, too,
is necessary before the parties may disclose documents and testimony that were designated as
“confidential” by Deutsche Bank. To ensure that Deutsche Bank is heard, we have informed
Deutsche Bank’s outside counsel of Red Tree’s application.

       We welcome the opportunity to further discuss these issues at a conference with the Court.

Respectfully submitted,
/s/ Robin L. Muir
Robin L. Muir

cc:    All counsel of record, via ECF

       Allan Taffet, via e-mail to allan.taffet@bracewell.com
       Outside counsel for Deutsche Bank Trust Co Americas
